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10   Class Counsel

11                                UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                         OAKLAND DIVISION
14
     MATTHEW EDWARDS, et al., individually               Case No. 11-CV-04766-JSW
15   and on behalf of all others similarly situated,
                                                         [consolidated with 11-CV-04791-JSW
16                                         Plaintiffs,   and 11-CV-05253-JSW]
17            v.                                         UNOPPOSED AMENDED
                                                         DISTRIBUTION SCHEDULE AND
18   NATIONAL MILK PRODUCERS                             [PROPOSED] ORDER
     FEDERATION, aka COOPERATIVES
19   WORKING TOGETHER; DAIRY FARMERS
     OF AMERICA, INC.; LAND O’LAKES, INC.;
20   DAIRYLEA COOPERATIVE INC.; and
     AGRI-MARK, INC.,
21
                                         Defendants.
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     010263-11 985515
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 1          WHEREAS on November 10, 2021, the Court entered a schedule for the distribution of

 2   settlement funds to class members (Dkt. No. 544);

 3          WHEREAS the second round of distribution began on January 1, 2022, and was completed

 4   on January 7, 2022;1

 5          WHEREAS class members continue to contact the claims administrators, class counsel, and

 6   the Court with inquiries regarding their payment;2

 7          WHEREAS the final report scheduled for filing with the Court on February 24, 2022,

 8   would require final reconciliation of the settlement account and distribution of the remainder to

 9   state Attorneys General;

10          WHEREAS class counsel wants to ensure that the settlement account remains open for

11   handling final inquiries from class members;

12          WHEREAS a six-week extension of the final reporting deadline will allow adequate time to

13   handle final claimant inquiries, conduct a final reconciliation of the settlement account, and

14   distribute the remainder to state Attorneys General;

15          WHEREAS class counsel proposes that the deadline for submitting the final report shall be

16   extended from February 24, 2022, to April 7, 2022;

17          WHEREAS Plaintiffs request entry of the below revised distribution schedule;

18          WHEREAS counsel for Plaintiffs consulted with counsel for Defendants regarding the

19   below revised distribution schedule and they do not oppose its entry:

20
                     Event                                              Date for Completion
21
      Final Reporting                                                     February 24, 2022
22    Claims administrator DigitalPay to provide final                       April 7, 2022
23    report regarding the disbursement of the settlement
      funds.
24

25      1
          This was two days later than the anticipated January 5, 2022, date for completion, because
26   DigitalPay slowed down the daily release of payments to ensure adequate coverage of the customer
     service lines.
27      2
          See, e.g., ECF No. 546 (correspondence dated Feb. 11, 2022). The three claimants who
28   contacted the Court have since each confirmed that DigitalPay has resolved their payment issue.

     UNOPPOSED AMENDED DISTRIBUTION SCHEDULE     -1-
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 1    Any remaining funds will be distributed to the
      Attorneys General for the Class jurisdictions for
 2    use in prosecuting consumer antitrust claims.
 3
            THEREFORE Plaintiffs respectfully request that the Court enter the order below, approving
 4
     this amended schedule. Upon entry, class counsel will update the class website with the schedule.
 5
     Respectfully submitted,
 6
     DATED: February 18, 2022                     HAGENS BERMAN SOBOL SHAPIRO LLP
 7
                                                  By      /s/ Steve W. Berman
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                                                  Class Counsel
28
     UNOPPOSED AMENDED DISTRIBUTION SCHEDULE    -2-
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 1   The unopposed amended distribution schedule set forth above IS SO ORDERED. Counsel shall
     update the class website with the amended schedule. IT IS SO ORDERED:
 2
                 22 day of February 2022
     Dated the ______
 3

 4                                                   _________________________________
                                                         The Honorable Jeffrey S. White
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     UNOPPOSED AMENDED DISTRIBUTION SCHEDULE   -3-
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